              Case 2:25-cv-00241-BHS                Document 62            Filed 03/04/25            Page 1 of 4


 1
                                                                                 The Honorable Benjamin H. Settle
 2

 3

 4

 5

 6

 7
                               UNITED STATES DISTRICT COURT
 8                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 9
     SHILLING, et al.,                                                 Case No. 2:25-cv-241
10                              Plaintiffs,
11                     v.                                              DECLARATION OF REGAN
                                                                       MORGAN IN SUPPORT OF
12   DONALD J. TRUMP, in his official capacity as                      PLAINTIFFS’ SUPPLEMENTAL
     President of the United States, et al.,                           BRIEF
13
                                Defendants.
14

15            I, Staff Sergeant (SSG) Regan A. Morgan, declare as follows:

16            1.      I am a thirty-one-year-old Staff Sergeant in the United States Army. I have served

     in the U.S. Army for nearly 14 years.
17
              2.      In May 2021, I assumed my current role in the 5th Special Forces Group
18
     (Airborne) at Fort Campbell.
19
              3.      I am a Special Forces Medical Sergeant with the military occupational specialty
20
     (MOS) 18D.
21            4.      I currently serve in Alpha Company, 2nd Battalion, 5th Special Forces Group. I

22   was promoted to Staff Sergeant in November 2020, shortly before joining the 5th Special Forces

23   Group.

              5.      I am presently deployed outside the United States in an active combat zone. I was
24
                                                                       Lambda Legal Defense and             Human Rights
25   DECLARATION OF MORGAN IN SUPPORT        Perkins Coie LLP
                                                                         Education Fund, Inc.            Campaign Foundation
     OF PLAINTIFFS’ MOTION FOR        1201 Third Avenue, Suite 4900
                                      Seattle, Washington 98101-3099   120 Wall Street, 19th Floor     1640 Rhode Island Ave NW
     PRELIMINARY INJUNCTION - 1                                        New York, NY. 10005-3919         Washington, D.C. 20036
26                                          Phone: 206.359.8000
                                                                        Telephone: 212.809.8585           Phone: 202.527.3669
     [2:25-CV-00241-BHS]                     Fax: 206.359.9000
             Case 2:25-cv-00241-BHS                 Document 62            Filed 03/04/25            Page 2 of 4


 1   scheduled to remain in the active combat zone until approximately August 2025.
 2           6.       In 2019, I completed the Special Operations Combat Medics Course at Fort

 3   Bragg, North Carolina. I subsequently graduated from the Special Forces Qualification Course

 4   (also called “Q” course) in 2020, also at Fort Bragg, earning my Green Beret.

             7.       I have continued to enhance my skills by completing the Military Freefall
 5
     Parachutist Course (2021), Special Forces Advanced Urban Combat Course (2021), and the
 6
     Special Operations Target Interdiction Course Level 2 (2022).
 7
             8.       Over the course of my career, I have held several leadership roles, including:
 8   Team Leader in the National Guard (2015–2016); State Trainer for the Military Funeral Program
 9   (2016–2017); and, for the past two years, Company Senior Medical Sergeant.

10           9.       To the best of my recollection—I’m currently without access to my service record

     as I am at a remote location with no computer access—I have received multiple awards, ribbons,
11
     and commendations, including the Army Commendation Medal, Army Achievement Medal,
12
     Army Overseas Service Ribbon, Global War on Terrorism (GWOT) Expeditionary Medal,
13
     Global War on Terrorism (GWOT) Service Medal, NCO Professional Development Ribbon (2
14
     awards), The Army Good Conduct Medal (2 awards), and Operation Inherent Resolve Campaign
15   Star, among other awards.

16           10.      I am transgender and have been diagnosed with gender dysphoria.

17           11.      I recognized I was transgender around 2018.

             12.      In 2019, I first sought guidance for gender dysphoria from behavioral health
18
     professionals at Fort Campbell, and I was diagnosed with gender dysphoria by a behavioral
19
     health provider in 2020.
20
             13.      During 2020 and through 2022, I attended a support group for soldiers with
21   gender dysphoria on Fort Campbell, and through that experience, I was able to create a
22   community of other trans service members that allowed me to grow more confident as a leader

23   and soldier.

24           14.      In Summer 2022, I submitted a packet requesting command approval for my

                                                                       Lambda Legal Defense and             Human Rights
25   DECLARATION OF MORGAN IN SUPPORT        Perkins Coie LLP
                                                                         Education Fund, Inc.            Campaign Foundation
     OF PLAINTIFFS’ MOTION FOR        1201 Third Avenue, Suite 4900
                                      Seattle, Washington 98101-3099   120 Wall Street, 19th Floor     1640 Rhode Island Ave NW
     PRELIMINARY INJUNCTION - 2                                        New York, NY. 10005-3919         Washington, D.C. 20036
26                                          Phone: 206.359.8000
                                                                        Telephone: 212.809.8585           Phone: 202.527.3669
     [2:25-CV-00241-BHS]                     Fax: 206.359.9000
             Case 2:25-cv-00241-BHS                 Document 62            Filed 03/04/25            Page 3 of 4


 1   gender-affirming care at Fort Campbell. By Fall 2022, I began medically transitioning as
 2   approved by Col. Lindeman.

 3           15.      Throughout treatment for gender dysphoria, I have successfully maintained my

 4   operational readiness and deployability as a Special Forces Medical Sergeant, and my gender

     dysphoria has neither impacted my ability to serve in a combat role nor interfered with my
 5
     deployments.
 6
             16.      Since starting hormone therapy, I have had no issues performing my duties in
 7
     combat zones.
 8           17.      In the combat zone where I currently serve, I am still able to receive gender
 9   affirming care. I am able to transport and store my medication and administer a weekly injection,

10   which takes less than ten minutes a week.

             18.      Ongoing access to gender affirming care has improved my mental health,
11
     bolstered my self-confidence, enhanced my effectiveness as a leader on my team, and has not
12
     impacted my ability to perform my duties.
13
             19.      My current combat zone deployment was scheduled to continue through August
14
     2025, but I discovered on or about the morning of March 2, 2025, that a flight had been booked
15   in my name for emergency leave—which I did not request.

16           20.      After learning about the flight booking, I spoke to my leadership and was

17   informed by Sergeant Major Klein, my senior enlisted leader in 2nd Battalion, 5th Special Forces

     Group, that I would be placed on emergency leave for five days from March 5, 2025 to March
18
     10, 2025 and then begin “out-processing” out of the Army no later than March 26, 2025. I was
19
     told my separation date—the date I would be forced out of the Army—would be no later than
20
     April 26, 2025.
21           21.      I was asked to sign a counseling form to this effect, which I have included as
22   EXHIBIT A.

23           22.      I have since been removed from my forward operating base in a combat zone and

24   routed through different locations in the Central Command area of operations and am awaiting

                                                                       Lambda Legal Defense and             Human Rights
25   DECLARATION OF MORGAN IN SUPPORT        Perkins Coie LLP
                                                                         Education Fund, Inc.            Campaign Foundation
     OF PLAINTIFFS’ MOTION FOR        1201 Third Avenue, Suite 4900
                                      Seattle, Washington 98101-3099   120 Wall Street, 19th Floor     1640 Rhode Island Ave NW
     PRELIMINARY INJUNCTION - 3                                        New York, NY. 10005-3919         Washington, D.C. 20036
26                                          Phone: 206.359.8000
                                                                        Telephone: 212.809.8585           Phone: 202.527.3669
     [2:25-CV-00241-BHS]                     Fax: 206.359.9000
             Case 2:25-cv-00241-BHS                 Document 62             Filed 03/04/25            Page 4 of 4


 1   transport to Baltimore, Maryland, and then to Fort Campbell for out-processing from the Army.
 2           23.      I did not request to be discharged from the Army, and I did not initiate the process

 3   of discharge. I did not request to be removed from my combat zone deployment. Being

 4   discharged in this manner would profoundly disrupt my life. I have not completed my civilian

     degree and have focused primarily on my Army career. I rely on my military income and
 5
     healthcare, and losing both would cause severe financial and personal hardship.
 6
             24.      My unit also stands to lose a highly qualified Special Forces Medic, leaving them
 7
     with only one medic on the team. Such a reduction severely impacts the readiness and mission
 8   capability of our Special Forces unit, which is meant to operate with two medics. It would be
 9   extremely difficult to replace me without impacting other soldiers’ deployment rotations and the

10   overall effectiveness of the team.

             25.      I have about six to nine years remaining before reaching retirement eligibility,
11
     depending on how my National Guard service is counted. If not for this policy-based action, I
12
     would continue to proudly serve in the United States Armed Forces for the rest of my career. I
13
     find the work immensely rewarding and have built a community among my fellow soldiers.
14
             26.      The ban on transgender service has forced an abrupt and involuntary end to a
15   career I love, tarnishing my record of honorable service and jeopardizing my future. My wish is

16   simply to remain in the Army, continue deploying with my unit, and fulfill my responsibilities to

17   my country and fellow soldiers.

18
             I declare under the penalty of perjury that the foregoing is true and correct.
19

20

21   DATED: March 4, 2025                                              ________________________________
                                                                       Staff Sergeant (SSG) Regan A. Morgan
22

23

24
                                                                        Lambda Legal Defense and             Human Rights
25   DECLARATION OF MORGAN IN SUPPORT        Perkins Coie LLP
                                                                          Education Fund, Inc.            Campaign Foundation
     OF PLAINTIFFS’ MOTION FOR        1201 Third Avenue, Suite 4900
                                      Seattle, Washington 98101-3099    120 Wall Street, 19th Floor     1640 Rhode Island Ave NW
     PRELIMINARY INJUNCTION - 4                                         New York, NY. 10005-3919         Washington, D.C. 20036
26                                          Phone: 206.359.8000
                                                                         Telephone: 212.809.8585           Phone: 202.527.3669
     [2:25-CV-00241-BHS]                     Fax: 206.359.9000
